                         Case 2:17-cv-01190-AKK Document 1 Filed 07/14/17 Page 1 of 7                                                                 FILED
                                                                                                                                              2017 Jul-14 PM 04:43
                                                                                                                                             U.S. DISTRICT COURT
                                                                                                                                                 N.D. OF ALABAMA
Pro Se 7 (Rev. 091l6) Complaint for Employment Discrimination
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                                                                                                                       t  ,."
                                       UNITED STATES DISTRICT COURT                                                          ~




                                                                     for the 


                                                          Northern District of Alabama 



                                                                                 Case No.
      ?.4r/f)Rtf                                                       )                        (lo be filled in by the Clerk's Office)
     ~j IfIl            g,      Ij1YLO/-- ._._.._                      )
                                                                       )
                           Plainlif!
                                                                       )
(Write yourfull name. No more than one plaintiffmay be ruuned
in a pro se complaint.)                                                )         Jury Trial: (check one)   9r' Yes               0    No
                                                                       )
                                 -v­                                                2:17-CV-01190-AKK
                                                                       )
                                                                       )
                                                                       )
                                                                       )
                                                                       )
 tJAr::Fl rSL/Q.d.5.B_._..__.___._                                     )
                             Defendant(s)                              )
(Write the filii name ofeach defendanl who is being sued. If the
names ofailihe defendants cannot fil in the space above, please        )
write "see attached" in the space and auach an additional page         )
with the full list a/names.)



                             COMPLAINT FOR EMPLOYMENT DISCRIMINATION

I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                               Name
                               Street Add ress
                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address




                                                                                                                                                Page I of1
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     . -Check here to receive electronic notice through the email listed above. By checking this box, the 

undersigned consents to electronic service and waives the right to personal service by first class mail pursuant to 

Federal Rules of Civil Procedure 5(b)(2), except with regard to service of a summons and complaint. The Notice 

of Electronic Filing will allow olle free 100 at the documen~d any attached PDF may be printed or saved. 


2-!{{-/Z                                                                     t<. . J c{J~
Date                                          Participant Signature



          B.         The Defcndant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (lfknown). Attach additional pages if needed.



                     Defendant No. I 

                               Name 

                                                                                                                ----~.~-


                               Job or Title ((fknown) 

                               Street Address 
                  ...£l2..2   7 /ltw-fu.i d~       <) (   ..   _.~~~.~._~.~.~_
                               City and County
                                                                 -~~~- -~~--~-~~--~-
                               State and Zip Code                . ,AL.. '3 Co"! 0      .     .                         .._ . _
                               Telephone Number                  -2-..Q5~'l/:-b"~.~_ ..~.~~.~_~.
                               E-mail Address afknawn)


                     Defendant No.2 

                               Name 

                               Job or Title (if known)
                               Street Address
                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address (((known)


                     Defendant No.3
                               Name
                               Job or Title a(knawn)
                               Street Address
                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address afknown)


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•
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                        Defendant No.4 

                                   Name 

                                   Job or Title (if known) 

                                   Street Address 

                                                                                                             ----------
                                   City and County 

                                   State and Zip Code 

                                   Telephone Number 

                                   E-mail Address (lfknown) 



              C. 	      Place of Employmcnt

                        The address at which I sought employment or was employed by the defendant(s) is


                                   Name
                                   Street Address
                                   City and County
                                   State and Zip Code
                                                                     --~----~----------~--.------~-                             ----.-­
                                   Telephone Number


    II. 	     Basis for Jurisdiction

              This action is brought for discrimination in employment pursuant to (check all thai apply):


                      ~          	 Title VII of the Civil Rights Act ofl964, as codified, 42 U.S.c. §§ 2000e to 2000e-17 (race,
                                     color, gender, religion, national origin).

                                     (Note: 	 1n order to bring suit in foderal district court under Title VII, you must first obtain a
                                     Notice ofRight to Sue letter from the Equal Employment Opportunity Commission.)

                                     Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

                                     (Note: In order to bring suit in federal district court under the Age Discrimination in
                                     Employment Act, you mustfirst file a charge with the Equal Employment Opportunity
                                     Commission)


                      o              Americans with Disabilities Act of 1990, as coditied, 42 U.S.C. §§ 12112 to 12117.

                                     (Note: 	 In order to bring suit in federal district court under the Americans with Disabilities
                                     Act, you must first obtain a Notice ofRight to Sue letter from the Equal Employment
                                     Opportunity Commission)

                      o	             Other federal law (specifylhejeckraJJaw):


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                  o               Relevant state law (specify, ifknawn):

                                   -----             ..•... .. ..
                                                                ~   ~-   ~-.-~-.-.~~~-         ..   -~.~   ..   -~~~~~   ..   -.~    -­
                                                                                                                                    ..
                  0               Relevant city or county law (specify, ifknDwn);




III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. lfmore than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

          A.          The discriminatory conduct of which I complain in this action includes (check all that apply);

                            o             Failure to hire me. 

                            ~             Termination of my employment.· 

                            o             Failure to promote me.
                            o             Failure to accommodate my disability.
                            ~             Unequal terms and conditions of my employment.
                            o             Retaliation.
                            o             Other acts (specify);
                                          (Note: Only those grounds raised in the charge filed with the Equal Employment
                                          Opportunity Commission can be considered by the federal district court under the
                                         federal employment discrimination statutes.)

        B.            It is my best recollection that the alleged discriminatory acts occurred on dUle(s)




        C.            I believe that defendant(s) (check one):
                            o             is/are still committing these acts against me.
                            III           is/are not still committing these acts against me.




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D. 	    Defendant(s) discriminated against me based on my (check all thai apply and explain):
                            rgt           race
                            o	            color
                            o	            gender/sex
                            o	            religion
                            o	            national origin

                            ~             age (year afbirlh)      JJleiL_ (only when asserting a claim ofage discrimination.)
                            o	            disability or perceived disability (specifY disability)

                                          ~~"-"-"-~"-"--~




        E. 	        The facts of my case are as follows. Attach additional pages if needed.




                    (Note: As additional support for the facts ofyour claim. you may attach to this complaint a copy of
                    your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
                    relevant state or city human rights division.)

IV.     Exhaustion of Federal Administrative Remedies

        A. 	         It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
                     my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
                     on (dale)




        B. 	        The Equal Employment Opportunity Commission (check one):
                            o	            has not issued a Notice of Right to Sue letter.
                            ~       	     issued a Notice of Right to Sue letter, which I received on (dale)   5- 9- / 7
                                                                                                               .-.~~-.-.--~-.-.----.-   .
                                         (Note: Attach a copy of the Notice ofRight to Sue letter from the Equal Employment
                                         Opportunity Commission to this complaint.)




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        C.            Only litigants alleging age discrimination must answer this question.

                      Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
                      regarding the defendant's alleged discriminatory conduct (check one):

                            J:i           60 days or more have elapsed.
                            o             less than 60 days have elapsed.

V.      Relief

        State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
        arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
        amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
        or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
        money damages.

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        C0t'1 fVjJ> /rr'it>f( '( DfrM/t Gt0


VI.     Certification and Closing

        Under Federal Rule of Civil Procedure II, by signing below, I certify to the best of my knowledge, information,
        and belief that this complaint: (I) is not being presented for an improper purpose, such as to harass, cause
        unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
        nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
        evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
        opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
        requirements of Rule I L



        A.            For Parties Without an Attorney

                      I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                      in the dismissal of my case.




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        B.           For Attorneys

                     Date of signing:


                     Signature of Attorney
                                                         ..   ~-    -­
                                                                   ..
                     Printed Name of Attorney 

                     Bar Number 

                     Name of Law Firm 

                     Street Address 

                                                         ~.---          ..   ~.~-  - -...
                                                                                    ..      ~~     ...   -­
                     State and Zip Code
                                                         - -..   ~-           .. - -        ..   - -..    --~   ..   ~~~-~--




                     Telephone Number 

                     E-mail Address 





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